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IN THE UNITED STATES DISTRICT COURT FI!.E.,,
FOR THE WESTERN DISTRICT OF TENNESSEE

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WESTERN DIVISION 05 APR 48 PH di dl
JAMES BROWDER, against
W.D. OF TN, MEMPH|S

Plaintiff,

VS.

NO. 00-3070 D/V

SHELBY COUNTY GOVERNMENT,
et al,

Defendants.

CONSENT ORDER DISMISSING WITH PREJUDICE DEFENDANT ISRAEL
AND DISMISSING HOPKINS IN HIS INDIVIDUAL CAPACITY
It appearing to the Court by consent of the parties, the Plaintiff has agreed to
dismiss with prejudice the Defendant Jacqueline Israel and to dismiss Defendant Marron
Hopkins in his individual capacity 0nly. The remainder of the lawsuit remains as is.
IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED, that by

consent the lawsuit against Defendant Israel is dismissed with prejudice and Defendant

Hopkins is dismissed in his individual capacity t)nly.

 

 

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Randall T@’lley, Attorney/ for Plaintiff _
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Stei;ferl Schreiner, Attorney for Plaiiififf

 

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Eugéne C. __Gaerig, Attorne_y/for Dei`endants
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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:00-CV-03070 was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

